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  9

 10
                         IN THE UNITED STATES DISTRICT COURT
 11
                          SOUTHERN DISTRICT OF CALIFORNIA
 12

 13 UNITED STATES OF AMERICA,                 Case No. 18-CR-4683-GPC
 14
                                              Honorable Gonzalo P. Curiel
            Plaintiff,
 15                                           DEFENDANT JACOB BYCHAK’S
 16
      v.                                      STATEMENT OF POSITION RE
                                              SENTENCING FACTORS AND
 17 JACOB BYCHAK,                             SENTENCING MEMORANDUM;
 18
                                              EXHIBITS A-C
            Defendant.
 19                                           Hearing Date: October 3, 2022
                                              Hearing Time: 10:30 a.m.
 20                                           Department: Courtroom 2D
 21

 22

 23         TO THE HONORABLE COURT AND THE PLAINTIFF UNITED STATES
 24 OF AMERICA AND THEIR COUNSEL OF RECORD: Defendant, Jacob Bychak,

 25 hereby submits his Statement of Position re Sentencing Factors and Sentencing

 26 Memorandum for consideration by the Court at his sentencing.

 27 //

 28 //

                                 1
           DEFENDANT JACOB BYCHAK’S SENTENCING MEMORANDUM
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  1
      DATED: September 26, 2022         Respectfully submitted:
  2

  3                                     WIECHERT, MUNK & GOLDSTEIN, PC
  4

  5                               By:   Jessica C. Munk
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  6                                     Attorneys for Defendant
  7                                     Jacob Bychak
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 20
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 21          COMMUNITY SERVICE AND A SIGNIFICANT MONETARY PENALTY
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  1               MEMORANDUM OF POINTS AND AUTHORITIES
  2
      I.   INTRODUCTION
  3        Defendant Jacob Bychak humbly appears before this Court for sentencing on
  4 his plea of guilty to Count One of the Superseding Information (Dkt. 471) charging

  5 him with misdemeanor conspiracy to commit electronic mail fraud, in violation of

  6 18 U.S.C. § 1037(a)(5) and (b)(3). Mr. Bychak entered his guilty plea on June 10,

  7 2022. The parties and the Presentence Report (“PSR”) calculate Mr. Bychak’s initial

  8 offense level to be 15 under the United States Sentencing Guidelines (“U.S.S.G.” or

  9 “Guidelines”), which includes a 3-point reduction for Mr. Bychak’s acceptance of

 10 responsibility. See Plea Agreement (Dkt. 465) at 9; PSR (Dkt. 495) at ¶¶ 30-32.

 11 Further, the parties agreed that a 7-level downward departure under U.S.S.G. §

 12 5K2.0 based on a combination of circumstances is appropriate for a total offense

 13 level of 8. Dkt. 465 at 9. The PSR confirms that Mr. Bychak has no criminal history

 14 and is in Criminal History Category I. PSR at ¶¶ 38-39. Accordingly, Mr. Bychak’s

 15 guidelines range for an offense level of 8 in Criminal History Category I is 0 to 6

 16 months. The government recommends the low-end of the guidelines, for a

 17 recommendation of no jail time. Dkt. 465 at 10, ¶ F. Further, the parties agreed that

 18 Mr. Bychak will pay a special assessment of $25, pay a fine of $100,000, and do

 19 100 hours of community service. Id. at ¶¶ G1-G3.
 20        Probation agrees that a custodial sentence is not warranted based on the 18
 21 U.S.C. § 3553(a) sentencing criteria. PSR at ¶ 82. However, Probation recommends

 22 a sentence of five years of probation in addition to the monetary penalty of

 23 $100,000, and 100 hours of community service stipulated by the parties. PSR at ¶¶

 24 87-88. This recommendation is inappropriate in light of the specific circumstances

 25 here, as well as the general sentencing practices in federal misdemeanor cases.

 26        While Mr. Bychak does not contest the penalty and community service
 27 recommendations, which are in line with the parties’ agreement, the recommended

 28 five years of probation is overly harsh. Mr. Bychak respectfully requests that in

                                 1
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  1 considering all of the factors discussed herein, that the Court impose a one-year

  2 probationary period. With the exception of the instant offense, Mr. Bychak has lived

  3 his entire life of 36 years free of any criminal activity. He has accepted

  4 responsibility and agreed in his Plea Agreement to a $100,000 monetary penalty and

  5 100 hours of community service. The deterrence purpose of sentencing is satisfied

  6 by these conditions, and Mr. Bychak represents no present or future danger to the

  7 public.

  8         Furthermore, Mr. Bychak has been on pre-trial supervised release since his
  9 self-surrender on November 1, 2018 – nearly 4 years ago, and he has been wholly

 10 compliant with the terms of his release, including when this Court allowed him to

 11 travel outside the Southern District. PSR at ¶ 21. During his pretrial supervision, he

 12 has maintained stable employment and remained a loving and supportive husband,

 13 brother, and son, and dedicated volunteer to his residential community. Mr. Bychak

 14 has already demonstrated that he has been and will be a model probationer. Five

 15 years of probation goes far beyond what is sufficient and necessary to meet

 16 sentencing objectives. Based on the numerous mitigating factors under the 18

 17 U.S.C. § 3553(a) sentencing factors, and the fact that Mr. Bychak has already been

 18 supervised for four years, a sentence of one year of probation, 100 hours of

 19 community service and $100,000 fine is warranted.
 20
      II.   PERSONAL BACKGROUND
 21
            A. MR. BYCHAK’S UPBRINGING AND FAMILY
 22
            Mr. Bychak was born on October 29, 1985 in Santa Maria, California to a
 23
      loving father and mother in a stable home environment. While his parents divorced
 24
      when he was seven years old, he maintained a healthy relationship with both
 25
      parents, and he is still close with them today. In the last few years his mother has
 26
      suffered from various mental and physical health issues, and Mr. Bychak has been
 27
      key in helping her take care of herself, including purchasing her a new home and
 28

                                  2
            DEFENDANT JACOB BYCHAK’S SENTENCING MEMORANDUM
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  1 helping her rebuild and maintain relationships. Mr. Bychak has two brothers, an

  2 older brother who is 41 years old and a younger brother who is 35 years old. Mr.

  3 Bychak is extremely close with both of his brothers, as well as with his father.

  4           Mr. Bychak has been married for four years to his wife Jean. They met in
  5 college over 15 years ago and their close friendship blossomed into a romantic

  6 relationship. Jean works full-time for a real estate company. They have lived in the

  7 San Diego area for most of their adult lives and have very close ties to their

  8 residential community where they have lived the past nine years. Once this case is

  9 behind them, they hope to start a family.

 10
              B. MR. BYCHAK’S EDUCATION AND EMPLOYMENT
 11
              Mr. Bychak graduated from St. Joseph’s High School in Santa Maria,
 12
      California in 2004 and was a good student. After high school he attended San Diego
 13
      State University (“SDSU”) and graduated a semester early in the fall of 2007 with a
 14
      bachelor’s degree in Business Management. He immediately went on to obtain his
 15
      Master of Business Administration (“MBA”) from SDSU, which he earned in 2009.
 16
              Shortly thereafter Mr. Bychak briefly worked as a marketing research analyst
 17
      for a financial services firm. On April 5, 2010, he was hired by Frontline Direct1 as
 18
      a marketing analyst and later that year he moved to the Operations team. This was
 19
      Mr. Bychak’s first significant full-time job out of college and he was 24 years old
 20
      when he started working there. Over the years Mr. Bychak was promoted to
 21
      Operations Manager and then became the Director of Operations. He worked for the
 22
      company throughout the pending case. After he entered his guilty plea, the company
 23
      subsequently let him go as well as the other co-defendants.
 24
              Mr. Bychak anticipates that he will remain gainfully employed post
 25
      sentencing as he has accepted new employment as the Director of Marketing
 26
      Operations for Launch Media Solutions, LLC.
 27

 28   1
          Frontline Direct was the predecessor company to Adconion Direct.
                                    3
              DEFENDANT JACOB BYCHAK’S SENTENCING MEMORANDUM
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  1         C. ADCONION DIRECT’S NEED FOR IP ADDRESSES AND
               DEALINGS WITH GETADS AND DANIEL DYE
  2
            Frontline Direct was a commercial marketing company started by Kim Perell
  3
      in 2003 with her friend Amanda Currie. Ms. Perell was the firebrand behind the
  4
      company, and she quickly grew the company into a multimillion-dollar business that
  5
      she sold to Adconion Media Group. In 2010, Frontline Direct became Adconion
  6
      Direct (hereinafter “Adconion”) and Ms. Perell was appointed as the CEO. Ms.
  7
      Perell continued to grow Adconion and when it was acquired it grew to
  8
      approximately 60 to 80 employees and later to over a hundred employees with
  9
      numerous offices.
 10
            Throughout Ms. Perell’s tenure as CEO, she received numerous awards and
 11
      accolades, including being recognized by San Diego Business Journal as one of San
 12
      Diego’s Most Admired CEOs,2 and in 2013 she received the prestigious Ernst &
 13
      Young Entrepreneur of the Year Award.3 Her employees loved working for her and
 14
      trusted and respected her, including Mr. Bychak.
 15
            As Adconion grew, it needed more and more internet-protocol addresses (“IP
 16
      addresses”) to send mass commercial email. The Operations team at Adconion was
 17
      tasked with acquiring the IP addresses for the email teams. GetAds was a company
 18
      that marketed itself as providing electronic marketing solutions and advice. GetAds
 19
      had a long-standing relationship with Adconion and was a marketing affiliate of
 20
      Adconion.4
 21

 22

 23   2
        https://www.allamericanspeakers.com/celebritytalentbios/Kim+Perell/426825 (last
 24   visited September 22, 2022).
      3
        https://www.prnewswire.com/news-releases/adconion-direct-ceo-kim-perell-wins-
 25   prestigious-ernst--young-entrepreneur-of-the-year-award-211948151.html (last
      visited September 22, 2022).
 26
      4
        GetAds’ website in 2012 touted its compliance practices: “GetAds has been
      instrumental in helping to create and standardize industry-wide compliance practices
 27   to ensure top lead quality for Advertisers and Agency’s, while providing innovative
      ads and the highest payouts for our Publishers/Affiliates.” See
 28   https://web.archive.org/web/20121016062848/http://www.getads.com/about%20us.
      html (last visited September 23, 2022).
                                 4
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  1          In late 2010 to early 2011, Ms. Perell reached out to Daniel Dye from GetAds
  2 to inquire about purchasing IPs from GetAds. Up to this point, Adconion had never

  3 purchased IPs and had only previously leased them. Ms. Perell and another

  4 executive at Adconion, Kevin Wolf, had established the business relationship with

  5 GetAds and connected Dye with the Operations team to purchase IP netblocks. The

  6 first purchase of an IP netblock by Adconion from GetAds occurred in early 2011

  7 and was handled by then Director of Operations Petr Pacas. The netblock related to

  8 a company named Open Business Solutions (“OBS”), and GetAds had acquired it

  9 from Scott Richter’s company. Mr. Bychak handled the second purchase of an IP

 10 netblock from GetAds and Dye, as well as subsequent purchases until Mark

 11 Manoogian was introduced to Dye to handle additional purchases. The company’s

 12 in-house counsel, Jonathan Harrill, who previously worked in IP acquisition at the

 13 company, reviewed, revised, and approved the purchase contract from GetAds.

 14          In total, Adconion purchased eleven pre-ARIN5 netblocks from GetAds and
 15 Daniel Dye, which were hijacked by Dye or Scott Richter. Regrettably, Mr. Bychak

 16 disregarded the signs that the netblocks were stolen.

 17
      III.   THE COURT SHOULD GRANT THE SEVEN-LEVEL DOWNWARD
 18          DEPARTURE UNDER § 5K2.0
             Pursuant to Mr. Bychak’s plea agreement, the parties agreed that a seven-
 19
      level downward departure under U.S.S.G. § 5K2.0 is appropriate. See Plea
 20
      Agreement, Dkt. 465 at 9, ¶ X.A. Section 5K2.0(2) allows for identified and
 21
      unidentified circumstances the Commission may have not adequately considered to
 22
      warrant a downward departure.
 23
             Here, the parties agreed that a seven-level downward departure was
 24
      appropriate based on a combination of circumstances including: “the offense is a
 25
      misdemeanor (while the guideline section is typically applied to felonies), and the
 26

 27   5
     Pre-ARIN or legacy IP space are IP addresses that were allocated in the early to
 28 mid 1990’s before the creation of ARIN in 1997. ARIN stands for the American
    Registry of Internet Numbers.
                                   5
             DEFENDANT JACOB BYCHAK’S SENTENCING MEMORANDUM
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  1 agreement allows the government to avoid a prolonged trial during a surge in the

  2 ongoing pandemic.” Id. at 9. Accordingly, the Court should grant the seven-level

  3 downward departure under § 5K2.0 and find that Mr. Bychak’s total offense level is

  4 8, in Criminal History Category I for a guideline range of 0 to 6 months.

  5
      IV.     THE 18 U.S.C. § 3553(a) SENTENCING FACTORS WARRANT A
  6           SENTENCE OF ONE YEAR PROBATION, COMMUNITY SERVICE
              AND A MONETARY PENALTY
  7           After a district court calculates the applicable Guidelines range, which post-
  8 Booker are only advisory, it must then consider the factors in 18 U.S.C. § 3553(a).

  9 Gall v. United States, 552 U.S. 38, 38-39 (2007). The court “may not presume that

 10 the Guidelines range is reasonable but must make an individualized assessment

 11 based on the facts presented.” Id. at 39 (emphasis added). “It has been uniform and

 12 constant in the federal judicial tradition for the sentencing judge to consider every

 13 convicted person as an individual and every case as a unique study in the human

 14 failings that sometimes mitigate, sometimes magnify, the crime and the punishment

 15 to ensue.” Pepper v. United States, 562 U.S. 476, 487 (2011) (quoting Koon v.

 16 United States, 518 U.S. 81, 113 (1996)). “Underlying this tradition is the principle

 17 that ‘the punishment should fit the offender and not merely the crime.’” Id. at 487-

 18 88 (quoting Williams v. New York, 337 U.S. 241, 247 (1949)).

 19           The Guidelines range is only one factor among each of the other factors set
 20 forth in § 3553(a) that the district court must consider. United States v. Carty, 520
 21 F.3d 984, 991 (9th Cir. 2008). The § 3553(a) sentencing factors include: (1) the

 22 nature and circumstances of the offense and the history and characteristics of the

 23 defendant; (2) the need for the sentence imposed; (3) the kinds of sentences

 24 available; (4) the guideline sentencing range; (5) any pertinent policy statement; (6)

 25 any need to avoid unwarranted sentence disparities among defendants with similar

 26 records; and (7) the need to provide restitution to any victims of the offense.6 As

 27

 28   6
          Restitution is not applicable in this case.
                                    6
              DEFENDANT JACOB BYCHAK’S SENTENCING MEMORANDUM
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  1 discussed below these factors demonstrate that a sentence of one year probation, 100

  2 hours of community service and a fine of $100,000 for Mr. Bychak is warranted.

  3
               A. NATURE AND CIRCUMSTANCES OF THE OFFENSE
  4               WARRANT A SENTENCE OF ONE YEAR PROBATION

  5           The discovery produced by the government in this case shows that it was
  6 Daniel Dye and his associate Scott Richter, also known as the “Spam King,” that
                                                                              7


  7 apparently hijacked the pre-ARIN netblocks that were ultimately sold to Adconion.

  8 In fact, in 2003 Richter was invited to be a panelist by the Federal Trade

  9 Commission to a public conference to discuss the subject of spam. During that

 10 conference, one of Richter’s co-panelists remarked about the proliferation of the use

 11 of abandoned or unused legacy space:

 12
               MS. KOSCHIER: This is Margot. We’ve noticed a trend recently
 13            where IP addresses that are registered to entities overseas or domestic
               that have been dormant for a while are apparently being
 14
               misappropriated and borrowed—we’re terming these zombie net
 15            blocks -- for spamming uses. We’re not quite sure how it’s happening;
 16
               we have a couple of theories, but mail is coming from places where it
               hasn’t been coming from all along and these IP addresses are somehow
 17            being routed by -- the routes are being accepted by internet service
 18
               providers, locally, domestically, but the IP blocks a long time ago
               should have been registered to folks overseas.
 19
 20
               MR. COHEN: Could part of the problem be that they’ve been sublet to
               other users?
 21

 22            MS. KOSCHIER: Could be, from what we’ve been seeing; however, it
               would indicate that the owners of these, the rightful owners of these net
 23            blocks, have no idea that this is happening.
 24 See Transcript of Record at 201:13-202:5, Federal Trade Commission Spam Forum

 25 – Day One, Second Version (April 30, 2003) (emphasis added),

 26 https://www.ftc.gov/sites/default/files/documents/public_events/ftc-spam-

 27 forum/transcript_day1.pdf (last visited September 23, 2022).

 28   7
          See https://en.wikipedia.org/wiki/Scott_Richter (last visited September 26, 2022).
                                    7
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  1        Richter was aware that IP hijacking was transpiring in the industry as early as
  2 2003 – when Mr. Bychak was still in high school, and when he had no experience in

  3 the commercial email marketing industry. Despite Richter being the source of some

  4 of the purloined netblocks that Adconion ultimately purchased, Richter was never

  5 criminally charged by the government. Further, even though Dye orchestrated the

  6 scheme to sell hijacked netblocks to Adconion, and hijacked some of the netblocks

  7 that were sold to Adconion himself, he is expected to receive a misdemeanor based

  8 on his cooperation. See United States v. Dye, Case No. 18-CR-0822-GPC,

  9 Addendum to Plea Agreement filed on February 22, 2018 at 3-4, ¶ H. Also, Vincent

 10 Tarney, who announced the hijacked netblocks and even created some of the Letters

 11 of Authority (“LOAs”) to announce them is also expected to receive a misdemeanor

 12 based on his cooperation. See United States v. Tarney, Case No. 18-CR-3469-GPC,

 13 Addendum to Plea Agreement filed on August 7, 2018 at 3, ¶ H.

 14       Mr. Bychak certainly accepts responsibility for his role in this offense. It is
 15 important to note that his salary and bonus at Adconion were not tied to the

 16 acquisition of the GetAds IPs. In fact, in 2013 when Adconion purchased the most

 17 IPs from GetAds, Mr. Bychak’s compensation was less than the prior year. Further,

 18 the original assignees of the netblocks had abandoned them and some were not even

 19 aware they had a netblock. This is not meant to minimize the conduct, but rather to
 20 point out that the owners of the netblocks sustained no monetary injury from their
 21 use. Accordingly, given Mr. Bychak’s role in the offense compared to others

 22 charged and uncharged in the netblock hijacking scheme, and his lack of discernable

 23 financial gain, a sentence of one year of probation, 100 hours of community service,

 24 and a $100,000 fine is warranted.

 25
           B. MR. BYCHAK’S HISTORY AND CHARACTERISTICS FURTHER
 26           SUPPORT A SENTENCE OF ONE YEAR PROBATION

 27       District courts may weigh a multitude of mitigating factors under § 3553(a)
 28 such as “age, education, mental or emotional condition, medical condition . . .

                                8
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  1 employment history, lack of guidance as a youth, family ties, or military, civic,

  2 charitable, or public service.” Rita v. United States, 551 U.S. 338, 364-65 (2007);

  3 see also United States v. Menyweather, 447 F.3d 625, 634 (9th Cir. 2006).

  4
            1. Mr. Bychak is a Loving and Dedicated Husband and Family Member
  5            and Involved in His Community
  6        Mr. Bychak has lived in California his entire life and he has lived in the
  7 San Diego area since college. He is an active member of his community and a

  8 loving husband, brother, and son. Mr. Bychak’s wife Jean, whom he has

  9 known for approximately 15 years, writes:

 10
            Jake is the most responsible, kindest, and best person I know.
 11         As his wife, it may seem obvious that I would have these
            feelings - but he continues to prove it to me and the world day
 12
            after day.
 13                                          …
 14
            Since I’ve known Jake, he has been a pillar of family - both his
 15         and my own. He has repaired other’s relationships and
            supported people when they were at their lowest point. He has
 16
            taken in multiple friends and family members to live with
 17         him/us, expecting nothing in return. When my mother was
            diagnosed with Leukemia a few years ago, it was without
 18
            question that he financially supported me while I moved in with
 19         her to be her caretaker until she died years later, all the while
            moving in his own mother with him when she needed a place to
 20
            stay. It was a difficult time for us to be apart and be dealing
 21         separately with such emotional distress. This was also the same
            time that this case arose.
 22

 23         Recently, we bought his mother a home. She didn’t have a place
            to stay and needed help. Jake, in true character, again rose to the
 24
            occasion to make sure that she was safe and healthy. Since then,
 25         she has been able to regain her health and mend relationships
            that she had abandoned. You can truly hear the difference in her
 26
            voice since Jake helped her.
 27
      Exhibit A (emphasis added).
 28

                                 9
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  1        Mr. Bychak is also very close to his younger brother Rick who was
  2 only a year below him in school and they also both attended college at SDSU

  3 and currently work together. Rick writes:

  4
           Jake and I get along quite well. We’ve essentially spent our entire lives
  5
           together and I have never once questioned Jake to be anything other
  6        than an absolute and genuinely good person. To this day, we
           regularly spend time together. We’ll get together with family to hang
  7
           out, BBQ, and have an overall great time. While together, I’ve watched
  8        him interact with my toddler daughter and it never ceases to warm my
           heart how his approach is always gentle, yet fun and inviting. I’m a
  9
           big facilitator of having my children around the people they love, and
 10        Jake has always been one of those people.
 11 Exhibit B (emphasis added). Rick goes on to write:

 12
           I know these past few years have been very stressful for Jake and our
 13        family not knowing what is going to happen with this case. I know Jake
           has learned a lot through this process and Jake and our whole family
 14
           are looking forward to this being behind him. Jake is a person of
 15        integrity and good character and I know he has learned from his past
           mistakes. I support Jake to the fullest degree.
 16

 17 Id.

 18        Mr. Bychak is also an active member of his community and tries
 19 to give back to make it a better place. He has served on the
 20 Homeowners Association (“HOA”) Board for the last eight years
 21 shortly after purchasing his condominium. He volunteered for the board

 22 because he wanted to make a difference and play at part in

 23 improvements around the community. Over the past eight years, he has

 24 served in various volunteer roles for the board and recently became

 25 president. He has spent many hours working through community

 26 issues, hearing residents’ concerns, helping out when residents have

 27 repair issues, and working to create better rules to have a safer, more

 28 prosperous community. The residents know they can call him if they

                                 10
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  1 have any issues or concerns. Mr. Bychak has tirelessly served his

  2 community because he wants to make it a better place for all his

  3 neighbors.

  4         Mr. Bychak also looks forward to being able to put this matter
  5 behind him, not just for himself, but for his family and friends that he

  6 cares so much about. As he wrote in his letter to the Court:

  7
            Although the last several years have been personally difficult due
  8         to the case, I have done my best to still be there for my wife,
            parents, and brothers and be a source of comfort and support for
  9         them, as well as for friends in need. They have all been
 10         extremely supportive of me through this matter and I look
            forward to putting this matter behind me, not just for my sake,
 11         but for their sake and peace of mind as well.
 12 Exhibit C. Mr. Bychak looks forward to being able to dedicate more time to

 13 his family and friends and to other community involvement.

 14          2. Mr. Bychak is Deeply Remorseful for His Conduct, has Lived a Law-
                Abiding Life, and Poses Zero Risk of Recidivism
 15
           Mr. Bychak is deeply remorseful for his conduct in this offense, which
 16
      occurred approximately 10 years ago when he was in his mid-twenties. Apart
 17
      from this offense, he has always lived a law-abiding life and has never been in
 18
      trouble before. His conduct in this offense was out of character for him, and
 19
      he writes:
 20
 21         I come before the Court humbled by this case that has spanned the last
            four years. I am a person of integrity and I fully accept responsibility
 22         for my part in this case and am very remorseful for the part I played.
            This case, which has been my only experience within the criminal
 23         justice system, has been very stressful and I can assure the Court that
 24         you (or any other criminal court) will not see me again. I’ve never been
            in trouble before and I learned a lot about this process along the way,
 25         and will absolutely do my part to never experience it again. I have
            learned from my errors from when I was younger and will not repeat
 26         them.
 27 Exhibit C.

 28

                                  11
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  1         Mr. Bychak has no criminal history, and this case alone has made him learn
  2 from his mistakes. He poses virtually no risk of recidivism, and like his participation

  3 on pre-trial release, he will comply with all the conditions of probation.

  4         In summary, taking into consideration the numerous mitigating factors
  5 including Mr. Bychak’s lack of criminal history, his long-standing community ties,

  6 his acceptance of responsibility, the fact the offense occurred in his mid-twenties,

  7 the lack of any discernable financial gain, and the fact that those who actually stole

  8 the netblocks will likely receive misdemeanors or were not charged by the

  9 government at all – all weigh in favor of a sentence of one year of probation, 100

 10 hours of community service, and a $100,000 fine.

 11
      V.   UNDER THE CIRCUMSTANCES, ONE YEAR OF PROBATION,
 12        COMMUNITY SERVICE AND A SIGNIFICANT MONETARY
           PENALTY IS SUFFICIENT TO SERVE THE PURPOSES OF §
 13        3553(a)(2)
            Subparagraph (2) of 18 U.S.C. § 3553(a) lists additional factors for the court
 14
      to weigh in order “to impose a sentence sufficient, but not greater than necessary”
 15
      to reflect the seriousness of the offense, promote respect for the law, and provide
 16
      just punishment; to afford adequate deterrence; to protect the public; and to provide
 17
      the defendant with needed educational or vocational training, medical care, or other
 18
      correctional treatment. Carty, 520 F.3d at 991 (quoting and citing 18 U.S.C. §
 19
      3553(a) and (a)(2) (emphasis added)).
 20
            Here, Probation is recommending five years of probation, which is greater
 21
      than necessary to meet the factors of § 3553(a)(2). As addressed in detail supra,
 22
      apart from this offense, Mr. Bychak has always led a law-abiding life dedicated to
 23
      hard work, he has no criminal history, much less even a prior arrest, and this offense
 24
      was out of character for him. He has learned from his mistakes, which occurred a
 25
      decade ago, and he has already shown this Court he can follow all restrictions
 26
      placed on him as he has already been on pretrial supervision for nearly four years.
 27

 28

                                  12
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  1 This Court, or any other court for that matter, will not see Mr. Bychak again in any

  2 criminal context as he poses zero risk of recidivism.

  3        Imposition of five years of probation is greater than necessary to reflect the
  4 seriousness of the offense and promote respect for the law and would unnecessarily

  5 expend government resources on a defendant who does not need to be monitored.

  6 As the court stated in United States v. Chapman, a case dealing with early

  7 termination of probation, “there is no benefit to be derived by maintaining a

  8 supervised release at public expenses over someone who has proven himself to be

  9 beyond the need of supervision.” 872 F. Supp. 369, 372 (E.D. Va. 1993). Mr.

 10 Bychak has shown during his almost four years of supervised pretrial release that he

 11 does not warrant an additional five years of supervision, and that one year of

 12 probation is sufficient. Further, the offense is a misdemeanor, with a guidelines

 13 range of 0 to 6 months. Finally, the median term of probation for a federal

 14 misdemeanor is 12 months,8 and 36 months for a felony.9 Thus, Probation’s

 15 recommendation of two years over the median term of probation for a felony is

 16 greatly disproportionate to this misdemeanor offense. Accordingly, a sentence of

 17 one year of probation, 100 hours of community service and a fine of $100,000 is

 18 sufficient to promote respect for the law and provide just punishment and adequate

 19 deterrence in this case.
 20
 21

 22

 23
      8
 24     See U.S. DOJ, Federal Judicial Statistics 2019 at 11 (showing table of median
      misdemeanor probation length as 12 months),
 25   https://bjs.ojp.gov/content/pub/pdf/fjs19.pdf (last visited on September 22, 2022);
      and U.S. DOJ, Federal Judicial Statistics 2020 at 11 (noting “In FY 2020, the
 26   median probation sentence was … 12 months for a misdemeanor (not shown in
      table).”), https://bjs.ojp.gov/content/pub/pdf/fjs20.pdf (last visited on September 22,
 27   2022).  The U.S. DOJ Federal Judicial Statistics for 2021 have not yet been released.
      9
        Id. Statistics 2019 at 11 (showing table of median felony probation length as 36
 28   months); id. Statistics 2020 at 11 (noting “In FY 2020, the median probation
      sentence was 36 months for a felony….”).
                                  13
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  1 VI.    A SENTENCE OF MORE THAN ONE YEAR PROBATION WOULD
           LIKELY RESULT IN UNFAIR SENTENCE DISPARITIES
  2        CONNECTED WITH THIS INVESTIGATION
            Subsection 6 of 18 U.S.C. § 3553(a) requires the court to avoid unwarranted
  3
      sentence disparities among defendants with similar records. First, as discussed
  4
      supra, the government’s discovery showed that many of the netblocks Dye sold to
  5
      Adconion came from Scott Richter. Yet Mr. Richter was never even prosecuted.
  6
      Further, Dye who coordinated with Richter to obtain some of the netblocks sold to
  7
      Adconion will likely have his felony plea amended to a misdemeanor. See United
  8
      States v. Dye, supra, Addendum to Plea Agreement at 3-4, ¶ H.10 Also, the
  9
      government has similarly agreed to reduce Tarney’s felony conviction to a
 10
      misdemeanor if it determines he has provided “extraordinary cooperation.” See
 11
      United States v. Tarney, supra, Addendum to Plea Agreement at 3, ¶ H.
 12
            Dye’s sentencing is not scheduled until January 30, 2023 (United States v.
 13
      Dye, supra, Dkt. 46), and Tarney’s sentencing is not scheduled until December 12,
 14
      2022. United States v. Tarney, supra, Dkt. 39. Accordingly, based on their
 15
      sentences, imposing a five-year term of probation could be greater than what Dye
 16
      and Tarney both receive, a disparity unjustified by the circumstances. Accordingly,
 17
      the Court should impose a term of probation no greater than one year to avoid
 18
      unwarranted sentence disparities.
 19
 20 VII. CONCLUSION
            For the foregoing reasons, Mr. Bychak respectfully requests that the Court
 21
      grant the seven-level downward departure under U.S.S.G. § 5K2.0 and adopt an
 22
      offense level of 8 for a guidelines range of 0 to 6 months in Zone A, and based on
 23
      the numerous mitigating factors under 18 U.S.C. § 3553(a), impose a sentence of
 24
      one year of probation, 100 hours of community service, a special assessment of $25
 25
      and a fine of $100,000.
 26

 27

 28
      10
        The government agreed to dismiss Dye’s felony conviction and allow Dye to
      plead to a misdemeanor based on extraordinary cooperation prior to his sentencing.
                                  14
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  1 Dated: September 26, 2022          WIECHERT, MUNK & GOLDSTEIN, PC
  2
                                 By:   s/Jessica C. Munk
  3
                                       Jessica C. Munk
  4                                    Attorneys for Defendant
                                       Jacob Bychak
  5

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  1                             CERTIFICATE OF SERVICE
  2
            Counsel for Defendant certifies that the foregoing pleading has been
  3
      electronically served on the following parties by virtue of their registration with the
  4
      CM/ECF system:
  5

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 16

 17

 18
            I certify under penalty of perjury under the laws of the United States of

 19
      America that the foregoing is true and correct.

 20
 21
      Executed on September 26, 2022, at San Juan Capistrano, California.

 22
                                                    s/Jessica C. Munk
 23                                                 Jessica C. Munk
 24

 25

 26

 27

 28

                                            1
                                  CERTIFICATE OF SERVICE
